          Case 2:10-cr-00130-JCM-PAL      Document 64     Filed 12/14/10    Page 1 of 1
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 6                                UNITED STATES DISTRICT COURT
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 7'l                                     D ISTR IC T O F N EVA DA
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  I1 IJNITED STATESOFAMERICA,                         )
  I:                                                  )
 91I                 Plaintiff,                       )
  II                                                  )
10         v.                                         )       2:IO-CR-I30-JCM (PAL)
11                                                    )
   I STERLING DAN NIITSUM A,                          )                                                         .
121I                                                  )                                                         I
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   I                 Defkndant       .
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  t1                                     ORDER OFFORFEITURE                                                     1
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14'i .
                This Courtfound on September 15,2010 thatSTERLIN G DAN N IITSUM A shallpay a
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   T criminalforfeituremoneyjudgmentof$6,000.00inUnitedStatesCurrcncy,pursuanttoFed.R.Cfim .
  7!
l61l P.32..2(b)(1)and(2),
                        .Title18,UnitedStatesCode,Section98l(a)(1)(A)andTitle28,United States
     ù
17 l Code, Section246l(c);andTitl
                                e21,UnitedStatesCode,Section853(p).
18              THEREFORE ITIS HEREBY ORDERED,ADJUDGED,AND DEcltEED thattheUnited 1
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     Statesrecoverfrom STERLING DAN NIITSUM A acriminalforteiture money
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20 amountof$6,000,00 in United StatesCurrency pursuantto Fed. R,Cri
                                                                  m.P.32.2(b)(4)(A)and(B); 7
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2.1 Title18,UnitedStatesCode,Section98l(a)(l)(A)andTitle28,UnitedStatesCode,Section2461(c)'
                                                                                          ,
22 and Title2l,United States ode,Section853(p).
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23 .            D ATED this       day ot-         .          ,2010.                                             !
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26                                                                  1i          G                               I
   I                                              NlT , TATES DISTRICT JUDGE                                    1
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